Case 1:17-cv-22462-UU Document 291 Entered on FLSD Docket 06/06/2019 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                SOUTHEM DISTRICT OF FLORIDA
                           CASE NO.1:17-CV-22462-UNGARO (SEITZ)
  CIRCUITRONLX,LLC,

                  Plaintiff,
  M.
  SHENZHEN KIN W ON G ELECTRON IC
  CO.,LTD.,and KINW ON G ELECTROM C
  (HONG KONG)CO.,LTD.,
                  Defendants.
                                              /
   ORDER DENYING M OTION FOR PAR TIAL JUD GM ENT A S A M ATTER OF LAW I

            Thism atterisbeforethe Courton Defendants'Rule 50 M otion forPartialJudgm entasa

  M atterofLaw gDE 2694,inwhichDefendantsseekjudgmentasamatterof1aw holdingthat
  Defendantsdidnotbreachparagraph 5oftheSettlementAgreementastoGeneralMotors(GM )
  andNissan.During thecourse ofthetrialtheCourtheardargumenton theM otion andreserved

  nlling. Resolution oftheM otion dependson interpretation oftheparties'Settlem entAgreem ent.

  TheCourtfindsthatDefendants'interpretation oftherelevmltclausesofthe Settlem ent

  Agreem entisinconsistentwith thelanguageused,with otherpartsoftheAgreem ent,and with

  theevidencepresented attrial. Therefore,Defendants'M otion isdenied.

  TheContractLanguage

            The contractlanguage atissueforpurposesofthisM otion isthecirclim vention provision

  ofthe SettlementAgreem entandportionsofRevised ScheduleA .Thecircumvention provision

  states:


        lThisOrderand theFinalJudgmentwereoriginally signed on M ay 21,2019. Forreasons
  unknown to theCourqthisOrderand theFinalJudgm entwereneverentered intotheelectronic
  docket(CM /ECF).Toavoidanytimingissues,theCourthasre-datedtheOrderandtheFinal
  Judgm ent.
Case 1:17-cv-22462-UU Document 291 Entered on FLSD Docket 06/06/2019 Page 2 of 5



         UntilM ay 24,2012 or,with respectto anyparticularentitylisted on ScheduletW ,''for
         two(2)yearsfrontthedateofthelastpurchaseorderflledbyKinwongfrom that
         particularentity,whichevercomeslater,Kinwong,and itsparentand subsidiary
         companies,and each oftheseentities'affiliates,directors,offk ers,servants,agents,
         insurers,attorneys,employees,stockholders,successors,divisions,related companies,
         survivors,heirs,executorsand assignsshallnotdirectly orindirectly comm ence
         negotiationsto enterinto anytype ofbusinesstransaction,orenterinto any type of
         businesstransaction,with any entity listed on ScheduleA,exceptthrough Circuitronix,
         norshallKinwong circtmw ent,attemptto circumvent,avoid,orby-passCircuitronix in
         any w ay.

  DE 48-3,!5.RevisedSchedule$$A''includesthefollowing:
         B)Lear:A11locationsshown at(ht1p:/p- .lear.coe eicontacvlocations.aspx)and
         Automotivecompanieswhowehaveexistingprojectsfor:
                  1.G M
                  2.N issan
                  3.Leoni

         Additionally the followingisagreed upon:
                                               #**

         d)ShouldKinwongreceiveanorderfrom aLearcustomerthroughanotherEM S
         com pany which hasnotdisclosed thenam eofthecustom erKinwong willnotbeheld
         liableforacceptingthe order. Assoon asthenam eofthe custom erisknown Kinwong
         agreesto ceaseaccepting theordersand willadviseCircuitronix.Thepremiseofthis
         clauseisthatthere isno contactbetween Ioinwong andthecustomerand the customer
         doesnotvisitany ofKinwong'sM anufacturing facilities.

  D E 48-4 at3.

  D iscussion

         Defendantsmaintain thatthelanguageElfrom thatparticularentity''in pazagraph 5,quoted

  above,meansthatthecircum vention provision onlykicks-in afterDefendantsreceiveapurchase

  order directly from one ofthe entitieslisted in Revised Schedule A . D efendantsargue that

  becausethereisno evidencethatGM orNissan everdirectly issued any purchase orders

  Defendantsareentitledtojudgmentasamatterof1aw astoPlaintifpsclaimsbasedonsales

                                                 2
Case 1:17-cv-22462-UU Document 291 Entered on FLSD Docket 06/06/2019 Page 3 of 5




  directlybyDefendantstoGM andNissan.Plaintif: ontheotherhand,majntainsthatnothingin
  the SettlementAgreem ent including theGtfrom thatparticularentity''language,requiresthat

  ordezsfrom GM and Nissan mustbeplaced directlyby GM orN issan and cnnnotbeplaced on

  theirbehalfby an EM S,such asLear,in orderforthecircum vention provisionto bein effectas

  to GM andNissan.

         In orderto determinethememaing oftheseprovisions,theCourtm ustapplytherulesof

  contractconstnzction.

         Thebasicrule ofcontractconstruction givespriority to theintention oftheparties.In
         upholdingtheintentionsofthepartie'  s,acourtmustconstruetheagreem entasawhole,
         giving effectto a1lprovisionstherein.M oreover,themeaningwhich arisesfrom a
         particularportion ofan agreementcannotcontrolthem eaning oftheehtire agyeem ent
         wheresuch an inferencenmscotmterto theagreement'soverallschem eorplan.

  M oorev.StateFarm M ut.Auto.Ins.Co.,916 So.2d 871,875(F1a.2dDCA 2005)(citations
  omitted).Thus,themeaningofanyparticularphrasemustbedetermined byarlexaminationof
  theentirecontract,notjustthatonepllrase.SpecializedMachinery TransporlInc.v.Westphal,
  872 So.2d424,426(F1a.5thDCA 2004).Additionally,acontractshouldbeconstrued
  accordingto itsplain language.Rosen v.HarborsideSuits,LLC,- So.3d - ,2018W L 6518264,

  *2 (Fla.3dDCA 2018).Applyingthesebasicrulesofcontractconstructiontotheparties'
  SettlementAgreem entresultsin the denialofDefendants'M otion.

         Neithersidedisputesthatthere isevidenceofpurchaseordersthatcame from Learon

  behalfofGM andNissan.Theissueiswhetherthese orderstriggered the circumvention clause

  as to G M and N issan. D efendantsargue thatthe Etfrom thatparticularentity''clause m ustbe read

  as m eaning CGdirectly from thatparticularentity,''while Plaintiffarguesthatthe clause should be

  read asGçdirectly orindirectly from thatparticularentity.''Using theplain meaning oftheword


                                                  3
Case 1:17-cv-22462-UU Document 291 Entered on FLSD Docket 06/06/2019 Page 4 of 5




  ççfrom''leadstotheconclusion thatPlaintiffsintep retation iscorrect.M eniam W ebster's

  Collegiate Dictionazy,Tenth Edition,desnesStfrom ''asSsused asafunction word to indicatea

  startingpoint'' Theevidenceeàtablishedthatthestarting pointsofordersthatflowedtlzrough

  Learwere OM ,Nissan,and others.Further,the tçgeneral-term scanon''statesthatwithoutsom e

  indication to thecontrary,generalwordsareto be accorded theirfulland fairscopeand arenotto

  bearbitrarilylimited.Lenziv.Regency F/wcrAssociation,Inc.,250So.3d 103,105(F1a.4th
  DCA 2018)(citationsomitted).Defendants'interpretation oftheclausewouldarbitrarilylimit
  them enning oftheword çtfrom ''in violation ofthiscanon and withoutevidencethattheparties

  so intended.Thus,theordersfrolh Learon behalfofGM andN issan would triggerthe

  circumvention provision asto GM and Nissan.

         Thisconclusionisfurthersupportedbysubparagraphd)ofRevised ScheduleA,which
  indicatesthatDefendantswould bein violation ofthecircumvention clauseiftheyknowingly

  receiyed an orderf'
                    rom anotherEM S on behalfofoneofthe custom erslistçd tmderLear,

  specificallyGM ,Nissan,orLeoni.Thus,whenreadin conjtmction withparagraph5ofthe
  SettlementAgreem ent,these twoprovisionsimply thatthe circumvention provision istriggered

  asto GM orNissan by any orderplaced by Learon behalfofGM orNissan.

         Additionally,theevidencepresented attrialwasthatGM and Nissan alwaysplaced their

  orderstllroughLear. Considering thisevidence also leadsto theconclusion thatthe

  circum vention clauseshould beread asGldirectly orindirectly from thatparticularentitp''

  Otherwise,theinclusion ofGM andNissan on Revised ScheduleA wouldhavebeen super:uous

  and,thus,contraryto the rule ofconstnzction thateveryprovision ofa contractisdeemedto

  servesomepurpose.SeeLandO '
                            SunAplfl Ltd v.REWJB GasInvestments,685jo.2d870,

                                                 4
Case 1:17-cv-22462-UU Document 291 Entered on FLSD Docket 06/06/2019 Page 5 of 5




  872(Fla.3dDCA 1996).IfGM andNissanalwaysplacedordersthroughLearandneverplaced
  ordersdirectly,there would beno reason to listthem on Revised ScheduleA.

         Consequently,thelanguage ofthecircum vention clause,languagein Revised Schedule

  A ,and the evidencepresented attriala11suppokttheconclusion thatthecircum ventionprovision

  istriggeredastoGM andNissanbyan orderplacedbyLearonbehalfofGM orNlssan.
  Therefore,Defendants'M otion mustbedenied.Accordingly,itis

         ORDERED thatDifendants'Rule 50M otion forPartialJudgm entasaM atterofLaw

  EDE 269)isDENIED.
         DONEANDORDEREDinMiami,Florida,this4 dayofJun,2 .    @
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